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               IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   4:05CR3143
                              )
          v.                  )
                              )
LISA McGINN,                  )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue (Filing No. 53).        The Court notes plaintiff has no

objection thereto.      Subject to defendant filing a written waiver

of speedy trial,

           IT IS ORDERED that trial of this matter is rescheduled

for:

                Monday, September 25, 2006, at 9 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.      Defense counsel represents the necessity

of obtaining expert witnesses.        He further contends that

additional time is necessary to continue the investigation and

gather documents and materials to aid defense experts in their

ability to render an opinion at trial central to defendant’s

defense.

           The ends of justice will be served by continuing this

case and outweigh the interests of the public and the defendant
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in a speedy trial.      The additional time between August 7, 2006,

and September 25, 2006, shall be deemed excludable time in any

computation of time under the requirement of the Speedy Trial

Act.   18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 24th day of July, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
